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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
              v.                              :         Case No. 22-64 (RBW)
                                              :
LLOYD CASIMIRO CRUZ, JR,                      :
                                              :
                                              :
                      Defendant.              :




                            DEFENDANT LLOYD CASIMIRO CRUZ JR’S
                                MOTION FOR TRIAL BY MAGISTRATE
                                            JUDGE




       NOW comes Defendant, Lloyd Casimiro Cruz Jr, by and through his counsel of record,

John M. Pierce, Esq., respectfully submits this request and waiver to this Honorable Court to

proceed to trial by magistrate judge of the district.

       Lloyd Casimiro Cruz Jr was charged with violations of 18 U.S.C. § 1752(a) (1), and with

40 U.S.C. § 5104(e)(2)(D) and (G) by and through a criminal complaint filed on May 3, 2022.

       Pursuant to 18 U.S.C. § 3401, a defendant that is charged with only misdemeanor may

elect to expressly waive a trial, judgment and sentencing by a district judge and does so either in

writing or by oral motion on the record.

       Therefore, notice is hereby given that Defendant Lloyd Casimiro Cruz Jr waives his right

to a trial, judgment, and sentencing by a district court judge and hereby elects to proceed to a

trial by a magistrate judge for the District of Columbia.




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Dated: November 10, 2022
                                         Respectfully submitted,

                                         /s/ John M. Pierce
                                         John M. Pierce
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                         CERTIFICATE OF SERVICE

I, John M. Pierce, hereby certify that on this day, November 10, 2022, I caused a
 copy of the foregoing document to be served on all counsel through the Court’s
                           CM/ECF case filing system.




                               /s/ John M. Pierce
                                 John M. Pierce




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